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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


     UNITED STATES OF AMERICA


                          Government.

           v.                             Case No. 98-80695



     FAWZI MUSTAPHA ASSI,


                            Defendant.

     _________________________________________/


                        SENTENCE HEARING

                BEFORE THE HONORABLE GERALD E. ROSEN
                    United States District Judge
                733 US Courthouse & Federal Building
                    231 Lafayette Boulevard West
                          Detroit, Michigan
                      Friday, December 12, 2008


     APPEARANCES:

              ROBERT CARES
              Assistant United States Attorney
              211 West Fort Street
              Detroit, MI 48226
              On behalf of the Government.

              JAMES C. THOMAS
              535 Griswold Street
              Detroit, MI 48226
              On behalf of the Defendant.
                            -   -   -

     To Obtain a certified transcript:
     Carol S. Sapala, RMR-FCRR
     313.961.7552

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 1               Detroit, Michigan
 2               Friday, December 12, 2008
 3               12:15 p.m.
 4               THE COURTROOM DEPUTY: Case number
 5   98-80695, USA versus Fawzi Assi.
 6               THE COURT: Appearances, please.
 7               MR. CARES: Robert Cares representing the
 8   United States.
 9               MR. THOMAS: Your Honor, my name is James
10   Thomas. I'm appearing on behalf of Mr. Assi.
11               THE COURT: All right.
12               Mr. Thomas, Mr. Cares, could you approach
13   the podium, please.
14               Mr. Thomas, I know you have reviewed the
15   Presentence Report and you have filed with the court
16   in response to the Presentence Report a number of
17   objections drafted by your client that you filed for
18   your client.
19               MR. THOMAS: I have.
20               THE COURT: Do you wish to address any of
21   those objections here?
22               MR. THOMAS: Mr. Assi and I had an
23   opportunity to talk beforehand.
24               He's indicated he wishes to argue some
25   portion of those objections, that I would argue the

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 1   others.
 2               And then, of course, he's going to have
 3   his right to allocute.
 4               I would like to clear up whatever those
 5   objections are that we -- that he has. And then to
 6   the extent he has to or feels he has to supplement,
 7   I'll ask him to ask the Court for permission to do
 8   that.
 9               The Court is aware he's filed a motion to
10   represent himself on certain issues in the
11   sentencing. He's taking the position now that I
12   should do some, he should do others.
13               I certainly will agree to do whatever it
14   is that he wants and subject to your direction.
15               THE COURT: That's fine.
16               As I indicated to counsel when I met
17   briefly with counsel before we went on the record, I
18   I intend to give Mr. Assi an opportunity to address
19   some of these issues on his own.
20               And then I'll give him an opportunity to
21   address allocution separate and aside from these
22   issues, but the opportunities are going to be brief.
23               This is, perhaps with one exception, the
24   most intensively litigated case that this Court has
25   had in 19 years on the bench.

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 1               It has been litigated vigorously by the
 2   government. It has been defended vigorously by both
 3   Mr. Thomas on behalf of Mr. Assi and by Mr. Assi
 4   himself in what I can only characterize as extensive
 5   pleadings, motions, letters and all manner of other
 6   items that the Court has received directly from Mr.
 7   Assi in which it has told Mr. Assi on numerous
 8   occasions it would send back to his lawyer.
 9               So I believe that I have a full
10   appreciation of all of the issues in the case.
11               In addition to that, I have rendered a
12   number of decisions in this case concerning all of
13   the legal issues in the case and have addressed
14   fully those legal issues.
15               So with respect to any legal issues
16   concerning the constitutionality, for example, just
17   for example, the constitutionality of the material
18   support statute, the constitutionality of the
19   guideline enhancement under 3A1.4, the applicability
20   of the enhancement to the allegations against Mr.
21   Assi and any number of other legal issues, this
22   Court has already opined on them and I don't believe
23   it is appropriate at sentencing for the Court to
24   hear legal argument on those issues.
25

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 1               So I intend to give Mr. Assi an
 2   opportunity to address objections to the Presentence
 3   Report, but I'm advising both Mr. Thomas and Mr.
 4   Assi that where those objections seem simply an
 5   attempt to relitigate issues that have already been
 6   decided by the Court, I'm not going to hear them.
 7               All right, Mr. Thomas?
 8               MR. THOMAS: Judge, we have litigated the
 9   issue regarding the terrorism enhancement. The
10   Court has issued an opinion as a result of the
11   numerous hearings we had.
12               We had a Rule 11 Plea Agreement which we
13   had the opportunity to discuss when we approached
14   the bench just before the defendant was brought in.
15               And it's my position that Defendant Assi's
16   Supplemental Sentencing Memorandum which is dated
17   July 15 2008, is filed.
18               And that to the extent that it does --
19               THE COURT: I should also add one other
20   thing. I'm sorry to interrupt you.
21               I should also add that the Supplemental
22   Sentencing Memorandum included a number of letters
23   on behalf of Mr. Assi which I have read.
24               MR. THOMAS: Right.
25

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 1               THE COURT: And --
 2               MR. THOMAS: But this one in particular is
 3   the one that really addresses the issue relating to
 4   terrorism enhancement, the Rule 11 Plea Agreement,
 5   while, when we did plead and there was a discussion
 6   on the record, we looked at the transcript at the
 7   bench.
 8               And it's my opinion that the defendant
 9   does have at least a right to appeal the issues
10   relating to the terrorism enhancement and the
11   Court's ruling on that.
12               So to the extent that this July 15th
13   pleading attempts to supplement the record, I'm not
14   going to argue any further relating to that.
15               All right. That's in the record. He has
16   his right to appeal and on that -- only that very
17   discrete issue and that's where I'm going to leave
18   it.
19               He did ask for self representation related
20   to that. But to the extent he is re-litigating the
21   issue, I heard what the Court said. I'm not going
22   to add anything further.
23               THE COURT: Let me just indicate I was
24   going to put this on the record at a later date,
25   later time in this proceedings, but since you've

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 1   raise it, Mr. Thomas.
 2               The Court reviewed -- before coming out on
 3   the bench, the Court reviewed the plea agreement and
 4   it looked to the Court as if Mr. Assi had, in fact,
 5   waived under the strict language of the plea
 6   agreement, it looked to the Court as if Mr. Assi
 7   waived his right to appeal any decision of the
 8   Court, including the applicability of the terrorism
 9   enhancement.
10               However, the Court then reviewed the
11   transcript from the plea proceeding and saw that the
12   Court explicitly visited with counsel on the issue
13   of the scope of the waiver of appeal.
14               And it was made clear on the record by
15   both Mr. Thomas and by Mr. Cares, that although Mr.
16   Assi was waiving his rights as to every other issue
17   and every other decision made by this Court, his
18   rights of appeal, he was not, however, waiving his
19   rights of appeal as to the Court's determination on
20   the applicability of guideline 3A1.4, the so-called
21   terrorism enhancement. I've confirmed that.
22               And when I complete the sentence and
23   advise Mr. Assi of his appellate rights, I will
24   again advise him of exactly that, that he has waived
25   all rights of appeal as to his conviction or his

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 1    sentence, other than his right to appeal the Court's
 2    determination of the applicability of terrorism
 3    enhancement guideline.
 4                I'd ask counsel, now, to acknowledge that
 5    that is their understanding and a correct
 6    interpretation of the plea agreement between the
 7    parties, even though the plea, itself, may not
 8    strictly reflect that.
 9                Is that right, Mr. Cares?
10                MR. CARES: That is right, Your Honor.
11                MR. THOMAS: Yes, Judge.
12                THE COURT: I understand how it may have
13    happened. The Court should add this plea was long
14    in coming. It went through many iterations as was
15    explained to the Court.
16                And I think that perhaps initially it was
17    the government's position that Mr. Assi be required
18    to waive any and all rights of appeal, including the
19    terrorism enhancement, the applicability of
20    terrorism enhancement.
21                But by the time we got to -- by the time
22    we got to the plea, it was made clear on the record
23    that Mr. Assi has preserved his right to appeal the
24    Court's ruling on that issue.
25

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 1                Is that an accurate recitation?
 2                MR. CARES: That's correct, Your Honor.
 3                THE COURT: Is that what happened here,
 4    Mr. Thomas?
 5                MR. THOMAS: It is, judge.
 6                We've also filed -- I have filed on his
 7    behalf, a second Sentencing Supplemental Memorandum
 8    which I gave to Mr. Cares and to Probation and that
 9    consisted of a series of letters.
10                As I understand, we've agreed to a ten
11    year cap as relates to this particular charge.
12                Interestingly, the statute was changed to
13    allow for a 15 year sentence; that would have been
14    an ex post facto issue, so the cap was at ten years.
15                Now pursuant to Booker and Fan-Fan and the
16    cases that have evolved since then, United States
17    versus Gall and the Sixth Circuit cases after that,
18    it's my position that the Court has the ability to
19    take these letters into consideration, look at the
20    advisory guidelines as they are now advisory and
21    make a determination of what the sentence will be.
22                I may be getting ahead of myself. And the
23    reason why I'm doing that, when I spoke to Mr. Assi
24    today, he said to me that there were certain things
25    in his Presentence Report that he wanted to object

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 1    to.
 2                We went over these and I just want to make
 3    a record as relates to it because I don't believe
 4    that these are, in my experience, the types of
 5    things that the Court would take into consideration
 6    at sentencing in any event.
 7                Presentence Report has in it a recitation
 8    of the facts, that's usually the government's
 9    version. And those facts are -- in most cases,
10    they're disputed. But he wants me to raise these.
11    And, for the record, I'd like to do that.
12                THE COURT: Before do you, I think it's
13    important as well by way of context here so we have
14    a record for appeal as to the terrorism enhancement,
15    what underlay I think is a big part of the agreement
16    between the parties. We went through some of this
17    during the plea hearing.
18                Mr. Assi potentially was facing a
19    substantial amount of time, probably 25 -- up to 25
20    years if he had been convicted arising out of the
21    nature of the charges, arising out of the factual
22    predicate to the charges, arising out of the fact
23    that he absconded for approximately six years and
24    arising out of the potential sentences, both
25    guideline and statutory sentences that the Court

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 1    could have imposed.
 2                By arriving at the plea agreement, the
 3    defendant exceeded in capping his exposure at ten
 4    years, even in the event that the Court were to
 5    apply the terrorism enhancement, which it now has
 6    done. That was after the plea agreement. So I
 7    think that that's an important factual context to
 8    put on the record.
 9                MR. THOMAS: It is.
10                And so towards that end in the Presentence
11    Report paragraph 16, they're references to his role
12    as a procurement agent to Hizballah.
13                It was the defendant's position both at
14    the evidentiary hearing and afterwards, that he
15    never used the term "Hizballah" and certainly he was
16    not a procuring agent for Hizballah, but it was, in
17    his terms, The Resistance.
18                In paragraph 17, that he did not advise
19    the officers about the fact that there were these
20    modules that were in his suitcase.
21                THE COURT: I think actually the
22    procurement agent comment in the record is actually
23    at paragraph 17.
24                MR. THOMAS: Paragraph 17. So I'm not
25    looking at the Rule 11 Plea Agreement, but I am

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 1    quoting that.
 2                THE COURT: Are you talking about the Rule
 3    11?
 4                MR. THOMAS: Of the Presentence Report.
 5                THE COURT: Paragraph 17.
 6                MR. THOMAS: So paragraph 17 there is a
 7    dispute as to the facts that are recited not only as
 8    relates to procurement agent for the term Hizballah,
 9    but also as relates to his advising the officer that
10    the modules were in his luggage. They were found in
11    his luggage.
12                Paragraph 19, that most of the items that
13    were found in the boxes were aircraft design books.
14                The Presentence Report goes to great
15    degree in describing the items which were relevant
16    to the investigation.
17                But the defendant, it's obvious from the
18    investigation, and from my contact --
19                THE COURT: Are you talking now about the
20    literature that was found in the trash bins?
21                MR. THOMAS: That's correct, in the boxes.
22                THE COURT: That's actually paragraph 20.
23                MR. THOMAS: Judge, I should go to the
24    Presentence Report.
25

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 1                THE COURT: I think, just so that we're
 2    clear on that.
 3                MR. THOMAS: I think what's going on is
 4    that there were different versions of the
 5    Presentence Report, so his quote was from possibly
 6    what was the original one.
 7                THE COURT: I think the substance is the
 8    same.
 9                MR. THOMAS: So to the extent that it does
10    not describe his intellectual capabilities and
11    intellectual curiosity to things that are
12    legitimate, it was felt that the Presentence Report
13    was not as explicit as it could have been. And so
14    he objects to that.
15                THE COURT: Okay.
16                MR. THOMAS: There was another paragraph
17    which I'm not going to number now for fearing having
18    been corrected a third time, where other persons
19    were suspected of being in charge of developing the
20    UAV.
21                THE COURT: Yes.
22                MR. THOMAS: References made again in
23    another paragraph relating to a hospital report.
24                THE COURT: Yes.
25                MR. THOMAS: And the fact that there was

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 1    an investigation as to whether or not the defendant
 2    was deportable.
 3                These paragraphs are objected to, although
 4    I don't think that they are dispositive as the
 5    Court's decision as relates to sentencing.
 6                THE COURT: Not only are they not
 7    dispositive, they don't enter into the Court's
 8    consideration for sentencing, they don't affect the
 9    guidelines, they really don't affect the statutory
10    penalty at all.
11                MR. THOMAS: And the Court -- these are
12    not the issues that the Court's focusing on for
13    sentencing. I understand that.
14                The other two issues that he wishes to
15    raise is that he owned his residence.
16                And that, apparently, there was a
17    misspelling of his --
18                THE COURT: Could I ask?
19                MR. THOMAS: If I could just continue.
20                THE COURT: Which part of the --
21                MR. THOMAS: He's referring to paragraph
22    53. There's a reference to the fact that his
23    residence is rented. It could be a different
24    paragraph now.
25                But the last objection he has --

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 1                THE COURT: I see.
 2                MR. THOMAS: -- when they were looking for
 3    him at Ford Motor Company, they apparently used the
 4    wrong spelling of his last name.
 5                He obviously does have confirmed in the
 6    Presentence Report that he has a long history with
 7    Ford Motor Company.
 8                THE COURT: Yes.
 9                MR. THOMAS: And so as it relates to that,
10    those objections, those are the ones he's asked that
11    I raise.
12                Except for -- to the extent he wants to
13    relitigate the issue regarding the terrorism
14    enhancement now and I say that I think that based on
15    what we've had before and what he has filed since
16    and what the Court has now ruled on, there is a very
17    adequate record for the appeal on that issue.
18                THE COURT: Thank you.
19                Mr. Assi, do you wish to briefly address
20    any of the issues that you raised with the filings
21    that Mr. Thomas has made for you?
22                Did you wish address any of those issues
23    concerning the Presentence Report?
24                He can address the Court from right there.
25    That's fine.

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 1                THE DEFENDANT: Can I have my notes?
 2                Good afternoon.
 3                THE COURT: Good afternoon, Mr. Assi.
 4                THE DEFENDANT: Last time I made comment
 5    what I said -- I was asked specifically during the
 6    plea hearing if I knew what I was doing was illegal.
 7    I said no. And the correct answer is supposed to be
 8    I said wrong. And I meant by wrong, politically, I
 9    didn't really know what I was doing was illegal and
10    there was no way of me knowing what I was doing was
11    illegal.
12                There was a comment that was made during
13    the last hearing, enhancement hearing on June 23rd,
14    and was mentioned in your -- in the Court's opinion
15    on the enhancement that was filed on 10-17-2008,
16    that the defendant Hassan, because of his status in
17    Hizballah, which it doesn't -- really is not true in
18    any way because all I meant to support is the
19    resistance in Lebanon. And Hassan happened to be in
20    Hizballah.
21                And why should I respect Hassan for his
22    status in Hizballah if I am not a member of
23    Hizballah in any way, never been. And I'm not.
24                And I was held to Hassan. He owed me some
25    respect. I didn't owe him any respect.

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 1                THE COURT: But --
 2                THE DEFENDANT: You're trying to connect
 3    me to Hizballah. Maybe they misinterpreted
 4    something I said, but there's no connection
 5    whatsoever that I really supported Hassan for his
 6    position in Hizballah.
 7                THE COURT: I think you indicated, though,
 8    at your plea, you were attempting to help what you
 9    characterized as The Resistance.
10                THE DEFENDANT: Yes. That's true. True.
11                I would like to really define Resistance,
12    because it appears to be there's a misunderstanding
13    of exactly what this word means.
14                Because I did mention this word in my
15    letter, my correspondence and my one of my motions.
16                And I was, for some reason, I mean the
17    word "Resistance" by definition means --
18                MR. THOMAS: Before we go into that,
19    judge --
20                THE COURT: Please.
21                MR. THOMAS: -- can I have one moment?
22                (A discussion was held off the record)
23                THE COURT: I just --
24                THE DEFENDANT: Basically what I said,
25    what I said and what I mentioned was exactly the

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 1    word that was defined in the dictionary. So it
 2    wasn't anything different then what the word
 3    "Resistance" means.
 4                If I said I supported Resistance and
 5    Resistance is meant what it meant.
 6                So now if I use the correct definition of
 7    the word, then I'll be reprimanded for it.
 8                I was just kind of not sure whether this
 9    word is really defined. You know, we all on the
10    same page as to what it really means.
11                Okay. Another thing that was used against
12    the defendant in a way that Mr. Assi did not give
13    assurances that Hizballah would not use the
14    equipment for other purposes.
15                That was a rhetorical question when I was
16    asked, because the government should have known that
17    there's no assurances whatsoever.
18                So for it to be used against me in a way
19    I -- I just found that to be --
20                THE COURT: Mr. Assi, we're now
21    re-litigating, again, the issues that were
22    extensively litigated before this Court as part of
23    the hearing on the applicability of guideline 3A1.4.
24    And the Court has addressed all of that in its
25    October 17th opinion. And this is not really an

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 1    issue of the Presentence Report.
 2                I want to you address the Presentence
 3    Report issues. You've made a complete and a full
 4    record on the issues of -- you and Mr. Thomas have
 5    very effectively made a complete and a full record
 6    on the issue of the applicability of 3A1.4, as I've
 7    indicated in the beginning of this proceeding.
 8    You've preserved that issue for appeal.
 9                I know you disagree with my opinion and
10    you'll have an opportunity to have at least three
11    other judges look at it. But this isn't the
12    opportunity to relitigate those issues. Okay?
13                THE DEFENDANT: That's it for now.
14                MR. THOMAS: Well, judge, he wants to
15    raise an issue as it relates to the constitutional
16    issues of the constitutionality of 18 USC Section
17    2239B.
18                We have filed our motion once, there have
19    been several successive supplemental motions to
20    that. He's asked me whether or not he could be able
21    to argue on that.
22                My understanding is, A, we've litigated
23    it.
24                B, not only by motion, but supplemental
25    motions.

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 1                Then when the Court did rule, there was
 2    further pleadings after that. We're going to rely
 3    on all of those to say that the issue's been raised.
 4                THE COURT: The issue has been
 5    exhaustively briefed not only by Mr. Assi's counsel,
 6    but Mr. Assi himself.
 7                And the Court dealt with these issues on a
 8    number of occasions probably most comprehensively in
 9    its August 9, 2007 opinion.
10                All I can say is those issues were before
11    the Court, the Court considered the government's
12    position, the Court considered Mr. Assi's position
13    and the Court decided it.
14                THE DEFENDANT: Just this particular
15    issue, Your Honor, is not -- was not addressed and
16    new facts came to light and I would like to address
17    those issues to the Court.
18                THE COURT: Mr. Assi --
19                THE DEFENDANT: There's a constitutional
20    issue, Your Honor.
21                THE COURT: Mr. Assi, I'm not going to
22    hear legal argument. The time for all legal
23    arguments is over with the exception of any issues
24    that you have with the Presentence Report.
25                I'm not going to relitigate the

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 1    applicability of the guideline, I'm not going to
 2    relitigate the constitutionality of the guideline or
 3    the statute.
 4                I'm not going to relitigate the
 5    constitutionality of the applicability of the
 6    guideline. All of these issues have been exhausted.
 7                THE DEFENDANT: Even if new facts came to
 8    light and there is an issue, the Court is not
 9    willing to hear that?
10                THE COURT: We're not going to do that
11    here.
12                If you believe there is no evidence, no
13    facts, there is a legal vehicle by which to bring
14    that to the Court. But -- and there are legal
15    standards that apply to the presentation of new
16    evidence or new facts and the time to do that is not
17    at sentencing.
18                All right. I've not yet had an
19    opportunity to hear from the government with respect
20    to the Presentence Report.
21                Mr. Cares, on behalf of the government.
22                MR. CARES: The government has no
23    objection to the Presentence Report.
24                THE COURT: All right.
25                Mr. Thomas, do you wish to allocute on

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 1    behalf of Mr. Assi any other issues before I hear
 2    from Mr. Assi? Do you wish to allocute on behalf of
 3    Mr. Assi?
 4                As I indicated, you filed a Sentencing
 5    Memorandum and Supplemental Sentencing Memorandum
 6    which included 12 or 13 letters on behalf of Mr.
 7    Assi. I've read all of those. I appreciate having
 8    them, it gives me a fuller picture of Mr. Assi I
 9    think.
10                And do you wish to present any allocution
11    on his behalf?
12                MR. THOMAS: Judge, the Presentence Report
13    that was crafted in this case was very specifically
14    detailed as to the defendant's family status.
15                The Court would have to be blind not to
16    see the number of people who are here in court
17    today, who have been here at every proceeding along
18    the way.
19                I think that the family support that he
20    has is commendable, and that his brother, Sami,
21    standing by him in the face of these terrible
22    charges and Sami is here today is heroic.
23                I have great respect for his family. They
24    have been very supportive of me I want to say that
25    on the record, I appreciate that.

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 1                The Court is aware that Mr. Assi's father
 2    passed way last week. There was some question as to
 3    whether or not he was going to be able to travel to
 4    visit his father as he was lying at rest, but that
 5    was waived by the client not being able to do that
 6    under his own power.
 7                Mr. Assi voluntarily came back to this
 8    country. He has been incarcerated since 2004.
 9                His incarceration has been difficult in
10    that in the face of having all these written
11    materials that he submitted to the Court, he has
12    his, his review materials and his research
13    materials.
14                In transporting him back and forth to the
15    court, there has been times he's not been able to go
16    back to Milan and the convenience of Milan.
17                The Court is very well of the
18    circumstances of incarceration of people at The
19    Wayne County Jail. It has not been an easy
20    procedure to go this far for so long to be in
21    detention status.
22                If he had been incarcerated in a prison,
23    it certainly would have been much more difficult.
24                His family circumstances, his family
25    support, the travail of being incarcerated in

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 1    anticipation of a trial, then waiting for the
 2    guideline issues to be resolved and now sentencing,
 3    these are all things that I think you can take into
 4    consideration at sentencing.
 5                Now after case laws involving Booker, we
 6    have capped our sentence at ten years. That doesn't
 7    mean you have to give him ten years.
 8                He's been from 2004-2008 incarcerated,
 9    that's a significant amount of time.
10                THE COURT: I want to confirm.
11                I think he has been detained since May of
12    2004; is that right?
13                MR. THOMAS: May 15th.
14                PROBATION OFFICER: May 18, 2004.
15                MR. THOMAS: So I know you've read the
16    letters, very well intended letters. They talk
17    about him in a different context and the allegations
18    that this Court has seen by the government's proofs.
19                His wife is still struggling medically,
20    his mother is still struggling medically.
21                He is in many ways even incarcerated, he's
22    the leader of his family.
23                Although I don't want to take away from
24    the strength of Sami, Sami Assi who has been in my
25    view my right, left and whatever other hands that I

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 1    might have.
 2                So I think that this Court can take a look
 3    at the 3553 factors in the context of what was and
 4    is in the Presentence Report and in the letters and
 5    sentence Mr. Assi to a sentence that is no more than
 6    what is necessary in order to satisfy the ends of
 7    the statute and the case law that I've mentioned.
 8                So I ask the Court's leniency as it
 9    relates to Mr. Assi. He has been tenacious, he has
10    been resilient and many times he's been difficult,
11    but he is entitled to do that charged as he is.
12                THE COURT: As I think you know, Mr.
13    Thomas, I never in any way punish any defendant,
14    certainly not Mr. Assi, for vigorously defending
15    himself or herself in bringing every issue possible
16    before the Court. And I certainly don't intend to
17    do that with Mr. Assi as a defendant charged here
18    with an extremely serious crime. I think that's his
19    right to do that.
20                And I don't want that to become confused
21    with the many occasions on which I've tried to
22    advise Mr. Assi he should not communicate directly
23    with the Court. That's a different issue.
24                MR. THOMAS: He's brilliant, as bright as
25    any man I've ever encountered as a defendant.

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 1                He has the capacity for great warmth. And
 2    while he may be intense, he does have that side
 3    which you haven't had a chance to see, but I have.
 4                THE COURT: I've gotten, I've gotten some
 5    sense of that from the letters that you've provided
 6    to me and you have provided for me.
 7                MR. THOMAS: Other than that, judge, I've
 8    nothing further.
 9                THE COURT: All right.
10                Mr. Cares, before I hear from Mr. Assi, do
11    you have anything --
12                MR. CARES: Just briefly.
13                THE COURT: -- in allocution on behalf of
14    the government?
15                MR. CARES: If I may, Your Honor, just
16    briefly.
17                As the Court has stated, there's been
18    extensive litigation. I don't think there's
19    anything I could say to the Court that the Court
20    doesn't already know or isn't aware of. I would
21    briefly like to point out a couple things if I may.
22                There was an extensive evidentiary hearing
23    in this case. The Court was presented with the
24    testimony of several witnesses as well as many
25    exhibits.

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 1                I suspect that from comments made today by
 2    Mr. Assi and on other occasions, he may attempt to
 3    minimize what he had done.
 4                For example, he used the word
 5    "Resistance". That's all he said.
 6                I would just point out to the Court at the
 7    time of Mr. Assi's pleading guilty and I'm going to
 8    quote from page 38 of that transcript.
 9                The Court asked him, quote:
10          Did you know at the time what you were doing
11          was illegal?
12                The defendant said and I quote:
13          I know I was sending these items to Hizballah.
14                He didn't use the word Resistance. He
15    used the word Hizballah.
16                As the Court is aware Special Agent
17    Testani interviewed the defendant twice in 1998.
18                Joseph Testani was cross examined very
19    vigorously. He testified in those interviews the
20    defendant admitted to him that he was meeting with
21    representatives, high level representatives of
22    Hizballah and these high tech materials were going
23    to Hizballah.
24                As the Court has stated, it's a serious
25    offense. The guideline range is 235 to 293 months.

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 1                Because of the plea agreement, the
 2    statutory cap is ten years, which is about half of
 3    the lower point of the guidelines.
 4                In light of the seriousness of the
 5    offense, in light of the fact that the defendant had
 6    done this on multiple occasions, it's the
 7    government's position that the Court should impose a
 8    sentence of the maximum of ten years, maximum
 9    sentence permitted under the statute.
10                Thank you, Your Honor.
11                THE COURT: Thank you.
12                Mr. Assi, do you wish to address the Court
13    in terms of allocution?
14                THE DEFENDANT: Good afternoon.
15                THE COURT: Good afternoon, sir.
16                THE DEFENDANT: Okay. Just to respond to
17    Mr. Cares.
18                I may have said that I intended to send
19    the items to Hizballah, but at the time I didn't
20    know Hizballah was a designated terrorist
21    organization. I didn't know it was illegal to send
22    any items to Hizballah.
23                But the intent was to support The
24    Resistance, not Hizballah.
25                I'm not aware of a new version of the PSI

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 1    Report because --
 2                THE COURT: The substance is the same.
 3                THE DEFENDANT: If they're any changes, I
 4    would like to know. But --
 5                THE COURT: If you like, Mr. Assi, I can
 6    provide you or Mr. Hampstead will provide you with
 7    exactly the same copy. It's substantively the same.
 8                THE DEFENDANT: In 1998, the defendant was
 9    charged in a four count indictment. The relevant
10    part of the indictment provides the following:
11                Count One Title 18 of the U.S. Code
12    Section 2339B material support to a Designated
13    Foreign Terrorist Organization.
14                At the time of the indictment in 1998, the
15    statute read as follows:
16          Whoever within the United States or subject to
17          the United States jurisdiction, knowingly
18          provides material support or resources to
19          foreign terrorist organization or attempts or
20          conspires to do so, shall be fined under this
21          type or imprisoned not more than ten years or
22          both.
23          In the year 2004, to remove any possible
24          ambiguity, the United States Senate Committee
25          amended the statute to clarify the ambiguity.

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 1                The amended version of the statute added
 2    this amendment:
 3          That to violate this paragraph, the person must
 4          have knowledge that the organization is a
 5          Designated Foreign Terrorist Organization or
 6          that he has or The Organization has engaged or
 7          engages in terrorist activities or that The
 8          Organization has engaged or engages in
 9          terrorism.
10                The defendant finds the statute
11    unconstitutional in its current form because it
12    violates the Fifth Amendment due process
13    requirement.
14                THE COURT: Mr. Assi, I don't mean to
15    interrupt you unduly, but if -- I've told you I'm
16    not going to hear legal argument.
17                THE DEFENDANT: I'm not talking legally,
18    I'm just -- my opinion. I think my rights
19    constitutional rights provided and I have all the
20    right to present that to the Court.
21                THE COURT: You've presented that.
22                THE DEFENDANT: I did not present this
23    particular issue, Your Honor.
24                THE COURT: Mr. Assi, if all you're going
25    to do is making legal arguments during this time for

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 1    allocution --
 2                THE DEFENDANT: I'm not making legal
 3    arguments.
 4                THE COURT: In terms of sentence, I'll
 5    give you five minutes to do that, but I'm not going
 6    to listen to anymore. This has been litigated.
 7                THE DEFENDANT: This is the substance of
 8    this whole case, Your Honor.
 9                I mean, if you want to give me some time
10    to defend myself, this is the time, this is the
11    substance.
12                THE COURT: Mr. Assi, the time for legal
13    arguments is over.
14                This is the time, this is the time for
15    sentencing, sir.
16                THE DEFENDANT: I'm going to talk about
17    all of this.
18                THE COURT: Mr. Assi, I will give you five
19    minutes to say whatever you want to say, but
20    that's -- if you're going to simply make legal
21    arguments about the constitutionality of the statute
22    about the constitutionality of the guidelines, the
23    applicability of the guidelines, we've been all
24    through that exhaustively.
25                THE DEFENDANT: I did not present this

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 1    issue, Your Honor.
 2                THE COURT: Go ahead. You have five
 3    minutes, sir.
 4                THE DEFENDANT: In essence, this section
 5    of 2339B states there -- in essence it states:
 6          There's no need -- A, there's no need for the
 7          defendant to know what he was doing was
 8          illegal.
 9          B, there's no need for the defendant to know
10          the organization he provided material support
11          was a Designated Foreign Terrorist
12          Organization.
13          C, the government could convict on the shear
14          knowledge of the terrorist activities or
15          terrorism of the Designated Foreign Terrorist
16          Organization as alleged by the government and
17          as was the argument in this case.
18          In this case, finding the defendant guilty
19          based on knowledge of government allegations
20          because the defendant read about these
21          allegations in the newspapers or magazines or
22          heard about them on radio or t.v. is volitive
23          of Fifth Amendment due process requirement of
24          fair notice.
25          Government's allegation cannot logically be

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 1          fair warning guaranteed by Constitution.
 2          Logically and legally, criminal liability may
 3          be imposed for violating penal laws not
 4          government allegations.
 5                Are government allegations sufficient to
 6    establish what the law intends or what the law
 7    prohibits?
 8                Are government allegations sufficient to
 9    provide the fair warning guaranteed by the
10    Constitution?
11                In this case, the defendant did not know
12    what he was doing was illegal and did not know that
13    Hizballah was designated by the State Department as
14    a terrorist organization.
15                Had the defendant sent these items to any
16    other group other than Hizballah, everything would
17    have been okay.
18                The defendant's due process rights were
19    violated when he was subject to criminal liabilities
20    under this statute based on the shear number of
21    government allegations of terrorist activities of
22    Hizballah.
23                The defendant intended to support a
24    legitimate resistance acting in self defense where
25    such conduct is not forbidden or prohibitive, but

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 1    rather legitimate and innocent.
 2                On November 29, 2007, the defendant
 3    entered a plea of guilty to Count One of the
 4    August 4, 1998 indictment.
 5                The defendant was charged with intending
 6    to provide support to a terrorist organization.
 7                The defendant's sentencing range was to be
 8    determined by the Court's ruling on the
 9    applicability of the enhancement.
10                The sentencing enhancement, the U.S.S. --
11    U.S. Sentencing Guidelines calls for a sentencing
12    enhancement if the offense as a felony that involved
13    or was intended to promote a federal crime of
14    terrorism.
15                In the same thought, I believe my
16    constitutional rights were violated under Title 18
17    of United States Code Section 2332(b)(g)(5).
18                THE COURT: Mr. Assi, you have one minute
19    remaining. If you wish to address the Court on any
20    sentencing factor that you want me to consider, I'd
21    be happy to hear that.
22                If you want to use your remaining minute
23    to continue to make legal arguments, you're free to
24    do that as well.
25                THE DEFENDANT: Well, the statute did not

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 1    put the defendant on notice that supporting a
 2    legitimate resistance is illegal or the resistance
 3    against a government who was in violation of the
 4    international laws for over 20 years was also
 5    illegal.
 6                The federal crime of terrorism defines
 7    terrorism as an offense which is obviously an act in
 8    violation of criminal laws that is calculated to
 9    influence or affect government by intimidation of
10    origin.
11                And the government, in this context,
12    cannot in any way logically mean the government was
13    in violation of international laws for over 20
14    years.
15                THE COURT: All right. Mr. Assi, your
16    time has expired.
17                THE DEFENDANT: I'm done with this. I
18    just have some other issues.
19                THE COURT: One more minute, sir. Your
20    time has expired. You spent your time making
21    largely legal argument issues the Court has long ago
22    addressed and resolved.
23                I was hoping to hear other things from
24    you.
25                THE DEFENDANT: Well, the issue here is

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 1    the statute did not put the defendant on notice that
 2    providing material support to a legitimate
 3    resistance against the government was in violation
 4    of international laws for over 20 years is illegal
 5    and this is a violation of the Defendant's Fifth
 6    Amendment due process right for fair notice.
 7                So I don't know what is more important
 8    then this, Your Honor.
 9                THE COURT: If that's what you want me to
10    consider.
11                THE DEFENDANT: This is in my own defense.
12    This is what I have to bring up. I'm defending
13    myself, Your Honor.
14                THE COURT: Thank you, Mr. Assi.
15    Appreciate your thoughts. I'm ready.
16                THE DEFENDANT: I would like to add just
17    one more thing before I --
18                THE COURT: If this is another legal
19    argument, Mr. Assi, I'm not going to hear it. I'm
20    sorry.
21                THE DEFENDANT: Well, I know the Court
22    knows the circumstances of the defendant's family,
23    the his wife is a depressed schizophrenic.
24                The son was into drugs for the last two or
25    three years and is struggling with that.

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 1                THE COURT: I saw that.
 2                THE DEFENDANT: His family circumstances
 3    as far as his mother and helping his children to go
 4    through college and be some use to them because
 5    they're struggling to make ends meet.
 6                And, also, the defendant pleads to this
 7    Court to give him time served and give him the
 8    opportunity to go out in the world and be productive
 9    again as he was all along.
10                That's about what I have to say, Your
11    Honor. I'm sorry that I've done something illegal
12    as far as exporting some items I wasn't supposed to
13    export. I do not intend to do any harm. And my
14    intentions were with -- I intended. I'm sorry I
15    found myself in this predicament.
16                And it's very ironic that the government
17    who is engaged in two wars acting in self defense
18    pursues a terrorism enhancement which is the worst
19    that can be in this legal system, against a
20    defendant who intended to support a legitimate act
21    in self defense.
22                THE COURT: Thank you.
23                THE DEFENDANT: Thank you.
24                THE COURT: You can stay at the podium,
25    sir. If you wish, you can stay at the podium.

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 1                All right, Mr. Assi, this has been a very
 2    lengthy proceeding going back to the initial
 3    indictment in 1998 when you then went to Lebanon for
 4    a period of about six years.
 5                You came back -- as Mr. Thomas indicated,
 6    you came back on your own volition and you faced the
 7    charges. You've been incarcerated since that time.
 8                In fashioning a sentence, as I always do,
 9    I have attempted to look not simply at the charges,
10    the seriousness of the charges which are very
11    serious, I'm not sure that even today as you stand
12    here before me for sentencing, you recognize the
13    seriousness of the charges. But these are serious
14    charges and the world that we live in today these
15    are very serious charges.
16                You were found at the airport back in 1998
17    with two local positioning satellite modules in your
18    luggage.
19                Additional luggage revealed you had some
20    seven pairs of very advanced night vision goggles
21    and thermal imaging scope. These are not -- this is
22    not equipment designed for benign uses.
23                For an American citizen as you were to
24    travel to Lebanon for whatever your reasons, however
25    deeply felt they were, to help advance the cause of

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 1    Hizballah.
 2                THE DEFENDANT: It was the cause of the
 3    people of Lebanon, Your Honor.
 4                THE COURT: For whatever reason it was,
 5    was a serious matter.
 6                I would view it equally serious, equally
 7    serious, if a defendant were attempting to illegally
 8    advance the cause of any organization --
 9                THE DEFENDANT: Illegally.
10                THE COURT: -- illegally, I would view it
11    with equal seriousness.
12                The situation, obviously in the Middle
13    East, is a powder keg and the people there on all
14    sides, including Israel and its neighbors, do not
15    need any assistance in igniting that powder keg from
16    American citizens. In a nongovernmental, in a
17    nongovernmental role, you took it on yourself to do
18    this.
19                THE DEFENDANT: I took it upon myself to
20    help people who are under occupation.
21                THE COURT: Mr. Assi, I've been very
22    patient with you. I've heard from you. This is my
23    opportunity to address you. I know how you feel.
24    You've written me many, many letters about this.
25                I don't question the depth of your

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 1    feeling. I do believe in doing what you did, you
 2    were misguided in enhancing or attempting to
 3    enhance, anyway, what is already a very precarious
 4    and dangerous situation in the Middle East.
 5                THE DEFENDANT: It was --
 6                THE COURT: Mr. Assi, please.
 7                THE DEFENDANT: I'm sorry.
 8                THE COURT: I've listened to you very
 9    patiently.
10                THE DEFENDANT: I'm sorry.
11                THE COURT: These are extremely serious
12    activities and the government cannot simply, the
13    American government cannot simply allow its citizens
14    to be freelance suppliers without -- in violation of
15    statutes of these kinds of activities.
16                So I have set forth in numerous opinions
17    the legal reasoning why I believe these statutes are
18    not unconstitutional.
19                And I set forth in an exhaustive opinion
20    just two months ago, my view on -- after listening
21    to the evidence, my view on the applicability of the
22    guideline range. But that's not what we're here for
23    today.
24                What we're here for today is sentencing.
25    And as I always do at sentence, I try to look at

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 1    everything about the defendant, the good things and
 2    not so good things.
 3                I try to have some understanding of the
 4    defendant's total life. I have to then balance that
 5    against the seriousness of the criminal activities
 6    involved and the ramifications or potential
 7    ramifications of those activities. So that's what I
 8    always try to do.
 9                In that context, your -- letters from your
10    many family members and friends of longstanding is
11    very helpful in understanding you.
12                THE DEFENDANT: Thanks.
13                THE COURT: I was particularly struck by
14    the letter I received from your eldest son, I
15    believe Abrahim. He's obviously a young man of
16    great intellect and ambition. And I wish him --
17    indeed, I wish your entire family all the best.
18                THE DEFENDANT: Thanks.
19                THE COURT: He said a number of things in
20    the letter about you that really struck me. And as
21    a person, as a father, that should give you some
22    solace for the impact that you've had on his life,
23    as well as, I assume, on your other two children.
24                It's a very, it's a very moving letter.
25    And as I said, I conducted a sentencing hearing

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 1    before you came up to another gentleman here.
 2                And as I said to some measure for you as
 3    is true of all of us, our children are the measure
 4    of our lives as much as anything else we do here.
 5    For that, I'm sure you can take some solace.
 6                THE DEFENDANT: Thank you.
 7                THE COURT: And I balance the picture that
 8    I get of you here in these letters against the
 9    activities that you were engaged in.
10                I think that your depth of feeling for
11    what you characterize as the resistance and some of
12    the political considerations that you've spelled out
13    over came your judgment.
14                Until you became involved in these
15    activities, you were very much living a life of the
16    American dream.
17                You came here as an immigrant with very
18    little, you educated yourself, went to a number of
19    different schools culminating with a master's degree
20    from Wayne State University.
21                You then began a career that was
22    successful. You had a responsible job with Ford
23    Motor Company. And from everything that I can see,
24    you were doing well.
25                At some point, you allowed the depth of

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 1    your feeling for what was happening in your homeland
 2    to overcome your judgment. And to -- this compelled
 3    you to embark upon activities that bring you before
 4    the Court today.
 5                These were serious misjudgments. I'm not
 6    sure even today you understand them, but they were
 7    serious misjudgments.
 8                They're misjudgments that have taken you
 9    away from your career, from your larger community,
10    and, unfortunately as well, from your family.
11                I only hope that when you complete your
12    sentence and you return to your community and to
13    your family, I hope you'll go back to the man you
14    were, the man that the people in these letters, the
15    person that people tell me about in their letters
16    and not become so imbittered and embroiled in all of
17    these other issues you have on your mind that you're
18    going to exercise more misjudgment and be returned,
19    again, either to this court or some other court.
20                My strongest advice I can give you, sir,
21    at this time, this will be probably the last time
22    you and I have an opportunity to talk, is to
23    complete your sentence, don't allow yourself to
24    become imbittered and embroiled in continuing
25    enmeshed in all of these issues that are playing out

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 1    in the world political scene, geo-political scene
 2    and do what's important to you, which is to return
 3    to your family and return to your community.
 4                The sentence I'm going to impose will
 5    allow you to do that. You'll have a chance to
 6    rejoin your community, to rejoin your family and to
 7    pick up again.
 8                I hope you'll do that, sir, and not
 9    continue to be involved in these kind of activities
10    that you feel so strongly about. That's the best
11    advice I can give you.
12                THE DEFENDANT: Thank you.
13                THE COURT: In the matter of the United
14    States of America versus Fawzi Mustapha Assi,
15    criminal docket 98-80695, the Court begins by
16    indicating that it will accept the plea agreement
17    that the parties have arrived at and will sentence
18    the defendant under the plea agreement.
19                As the Court has already indicated but
20    wants to indicate in the context of sentencing,
21    among the many considerations that the Court has
22    looked at in arriving at an appropriate sentence is
23    the fact that this plea agreement puts a ceiling or
24    cap on a sentence for Mr. Assi of ten years. That's
25    an agreement that he and his lawyer entered into

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 1    with the government. By accepting the plea
 2    agreement, I find that to be an appropriate
 3    limitation on sentence.
 4                But it should not go without notice that
 5    had Mr. Assi not accepted this plea agreement and
 6    had he gone to trial and been convicted, he was
 7    facing a sentence of at least twice as long and
 8    perhaps longer.
 9                So I, in imposing sentence, I consider
10    that as well as all of the other items that Mr. Assi
11    and I have talked about, as well as the sentencing
12    guideline factors and the factors included in the
13    sentencing statute.
14                With respect to Count One of the First
15    Superseding Indictment, it is the judgment of this
16    Court after considering the sentencing guidelines
17    and the factors in those guidelines and the factors
18    in the sentencing statute and the factors that I've
19    discussed here on the record with Mr. Assi, it is
20    the judgment of this Court that the defendant be
21    committed to the custody of the Bureau of Prisons
22    for a period of 120 months.
23                The Court recommends to the Bureau of
24    Prisons that Mr. Assi be given credit for time
25    served.

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 1                I am going to waive any imposition of a
 2    fine or costs of incarceration or costs of
 3    supervision due to the Court's finding that the
 4    defendant lacks the resources to satisfy such
 5    assessments and the Court's belief that any
 6    resources that the defendant and his family does
 7    have will be better spent supporting the family
 8    during Mr. Assi's period of incarceration.
 9                The law does, however, require a special
10    assessment of $100 for each count of conviction;
11    that is due and payable immediately.
12                Upon his release from imprisonment, he
13    will be placed on a term of supervised release for a
14    period of two years.
15                I am imposing the mandatory drug testing
16    conditions after reviewing the substance abuse
17    provisions in the Presentence Report.
18                While the defendant is on supervision, he
19    will abide by all of the standard conditions of
20    supervised release which have been adopted by this
21    Court as well as the following special conditions.
22                Due to the defendant's history of
23    substance abuse, he will participate in a program
24    approved by his probation officer for substance
25    abuse which may include testing to determine if he

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 1    has reverted to the use of drugs or alcohol. I'll
 2    leave that to his probation officer's discretion.
 3                Due to the nature of the offense, the
 4    Court imposes the following special financial
 5    conditions.
 6                The defendant will not incur any new
 7    credit charges or any open any additional lines of
 8    credit without the approval his probation officer.
 9                He will provide his probation officer with
10    access to any requested financial information.
11                If the defendant should be found to be
12    deportable, he will not reenter the United States
13    without the permission of the authorizing government
14    agency and the Court.
15                MR. THOMAS: He is a citizen, judge.
16                THE COURT: I understand that. I don't
17    think that he would be deported, he is a citizen. I
18    think I'm required to include that. I don't
19    anticipate he would be deported.
20                If he were to be deported, his supervised
21    release period would then be unsupervised.
22                Mr. Assi, as we have discussed already,
23    because I have now accepted the plea agreement and
24    under the plea agreement as I construe it, you have
25    agreed to waive any of your rights of appeal

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 1    concerning either your conviction or your sentence,
 2    with the exception of the Court's decision on the
 3    applicability of the terrorism enhancement under the
 4    guideline 3A1.4.
 5                As I indicated earlier, there was I think
 6    some question about that after, within the four
 7    corners of the plea agreement.
 8                However, I reviewed the transcript from
 9    the plea hearing and it's clear to me that it was
10    your intention in entering into the plea agreement,
11    you preserve your right to appeal the Court's
12    decision on that one issue and I will ensure you
13    have that right.
14                MR. THOMAS: Judge, could you recommend
15    the drug program for him since there is this
16    history?
17                THE COURT: I'll recommend the Intensive
18    Drug Treatment Program.
19                MR. THOMAS: Also, if you could, I know
20    we --
21                THE COURT: During his period of
22    incarceration --
23                MR. THOMAS: I don't know if there is one
24    at Milan. He wants to be close to his family.
25                THE COURT: I'll recommend Milan as his

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 1    designated facility.
 2                THE DEFENDANT: Thanks.
 3                THE COURT: That would facilitate
 4    visitation with your family. Mr. Assi, I'll
 5    recommend that.
 6                At any rate with respect to all other
 7    issues, you have waived your right of appeal of
 8    either your conviction or your sentence.
 9                Anything else concerning sentence or any
10    other matter from the government?
11                MR. CARES: The government moves to
12    dismiss the remaining counts.
13                THE COURT: Provide me with a stipulated
14    order.
15                MR. THOMAS: He has mentioned to me The
16    Life Connection Program at Milan.
17                THE COURT: Michigan program? I'm sorry?
18                MR. THOMAS: Life Connection. It's
19    supposed to be a new program there. Apparently,
20    he's aware of it and wants to --
21                THE COURT: I'm not familiar with it.
22    What is it?
23                Do you know what it is, Mr. Assi?
24                THE DEFENDANT: It has something to do
25    with religion and beliefs.

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 1                THE COURT: If it's something to do, I'll
 2    recommend it. You understand all these
 3    recommendations are simply that. It's up to the
 4    Bureau of Prisons.
 5                THE DEFENDANT: Yeah. I'm afraid that
 6    because of this, the nature of this charge and the
 7    criminal history and I don't know if you want to
 8    reflect it on the record or not, criminal history
 9    does make a big difference as to --
10                THE COURT: Well your --
11                THE DEFENDANT: -- my designation as to
12    what --
13                THE COURT: You're a category one, sir,
14    which is a low category of criminal history.
15                THE DEFENDANT: Thank you.
16                THE COURT: So I'll recommend that you
17    participate in these programs.
18                THE DEFENDANT: Thanks a lot.
19                THE COURT: You'll be able to participate
20    in them. I think it would be helpful for you to
21    participate in the Intensitive Drug Treatment
22    Program. The therapy provided in those programs can
23    be helpful on many levels.
24                Anything else, Mr. Thomas?
25                MR. THOMAS: Well, judge, he does have the

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 1    right to appeal.
 2                We have had, obviously, a lot of
 3    litigation relating to the issue on appeal the
 4    defendant has asked to supplement and sometimes
 5    represent himself.
 6                THE COURT: I was going to advise him of
 7    his rights with that.
 8                MR. THOMAS: Reflecting on that, I'd
 9    ask -- at this point, I think it probably
10    appropriate to appoint someone to represent him on
11    appeal as opposed to myself.
12                THE COURT: Let me advise him of what his
13    rights are.
14                Mr. Assi, I've told you what your right of
15    appeal that remains is with respect to the
16    applicability of the terrorism enhancement.
17                If you wish to appeal, you have ten days
18    from the entry of the judgment of conviction to
19    appeal.
20                If you want to represent yourself on
21    appeal, you are entitled to do that. As I have
22    through the course of this litigation, I advised you
23    that I think that would be a very bad idea to do.
24                I think it's helpful, an appellate lawyer
25    would be beneficial for you.

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 1                I advise you not to try to represent
 2    yourself on appeal. If you wish to appeal, I will
 3    be happy to appoint appellate counsel for you.
 4                MR. THOMAS: I'll see to it the notice is
 5    filed. I want to make sure that is done within the
 6    ten day period.
 7                THE COURT: Mr. Thomas here has indicated
 8    he believes it would be in your best interest to
 9    have a different lawyer represent you on appeal.
10                THE DEFENDANT: He's a very busy man.
11                MR. THOMAS: But you like me, right?
12                THE DEFENDANT: Sure, I like him.
13                THE COURT: But if you want another, a
14    different lawyer, I'll be happy to appoint a lawyer
15    who specializes in appellate issues.
16                THE DEFENDANT: Yes, Your Honor. I do
17    need an attorney.
18                THE COURT: We will do that.
19                Anything further?
20                MR. THOMAS: No, thank you, judge.
21                THE DEFENDANT: Just would like to thank
22    you for your patience and for your humorous advices.
23    And I'm sorry for any trouble I've made or caused.
24                THE COURT: You've not caused me any
25    trouble, Mr. Assi. You've done what defendants

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 1    often do, which is vigorously try to ensure all your
 2    rights are protected.
 3                THE DEFENDANT: Thank you, Your Honor.
 4
 5              (This hearing concluded at 1:25 p.m.)
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 1
 2
 3                  CERTIFICATE OF COURT REPORTER
 4
 5
 6
 7      I certify that the foregoing is a correct
 8    transcript from reported proceedings in the
 9    above-entitled matter.
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11
12
13    s/Carol S. Sapala, FCRR, RMR          Feb. 11, 2009

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